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IN THE UNITED STATES DISTRICT COURT -
FOR THE SOUTHERN DISTRICT OF ILLINOIS OCT 05 2021
CLERK, U.S. DISTR: JURT

SOUTHERN DISTRIC? iLLINOIS
BENTON OFFivé

UNITED STATES OF AMERICA,
Plaintiff,

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}
vs. 5 CRIMINAL NUMBER: W-h- 40154 - NOK
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)

JAY A. COBB, Title 18 U.S.C. § 666(a)(1)(A)
Defendant.
INDICTMENT

THE GRAND JURY CHARGES:

INTRODUCTORY STATEMENT

1. During all times relevant to the Indictment, JAY COBB was employed with the
Village of Alorton Police Department. COBB was a patrol officer that was assigned to patrol the
Village of Alorton and to respond to police calls. Cobb began his employment with the Village of
Alorton in January of 2020.

2. Village of Alorton Police Department Orders require all officers to clock in at the
beginning of each shift and clock out at the end of the shift. Police Department Orders also
mandate that no officer has authorization to drive a patrol vehicle while not on duty without the
permission of the Chief of Police. The Orders also require that any officer who leaves the venue
must have authorization by the Chief of Police or Shift Commander when applicable. Also, all

officers must notify the dispatcher of his/her departure from venue and of his/her return.

3. The Village of Alorton is an impoverished town with a diminishing population in a
high crime area. As of May of 2021, the village ceased to exist and was incorporated into the new

city of Cahokia Heights.
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4. Special Agents with the Federal Bureau of Investigation compared GPS records of
patrol vehicles used by COBB and compared that with timecards submitted by COBB for the time-
petiod of January 10, 2020 through April 4, 2021. It was determined during the federal investigation
that during an approximate 16-month period, COBB falsified time records for payment from the
Village of Alorton in an amount of approximately $9,815 representing approximately 654 hours where
COBB claimed that he was working but instead he was outside the jurisdiction of the Village of
Alorton without authority for personal reasons, usually at his residence in Cahokia, Illinois.

Count 1
OBTAINING FUNDS BY FRAUD FROM THE VILLAGE OF ALORTON, A UNIT OF A GOVERNMENT
THAT RECEIVED FEDERAL FUNDS

1. Paragraphs 1-4 are re-alleged.

2. The Village of Alorton and its Police Department was a component of city
government. The Village of Alorton, Illinois received more than $10,000 of federal program funds in
a one-year period ftom the time-period of COBB’s fraudulent receipt of funds from the Village of
Alorton. These federal payments include $82,114.21 from the Coronavirus Relief Fund in March of
2021.

3. From in or about May 2020 and continuing through April 2021, in St. Clair County,
Illinois, within the Southern District of Illinois, and elsewhere,

JAY COBB
defendant herein, while a sworn police officer with the Village of Alorton. Police Department, and an
agent of a local government, did knowingly obtain by fraud property worth at least $5,000 under the
cate, custody, and control of the Village of Alorton by submitting falsified timecards for
compensation.

All in violation of Title 18, United States Code, Section § 666(a)(1)(A)
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A TRUE BILL

 

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STEVEN D. WEINHOEFT
United States Attorney
Southern District of Illinois

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NORMAN R. SMITE
First Assistant U nited States Attorney

Recommended bond: $20,000 unsecured.
